Case 9:21-cv-81119-DMM Document 83 Entered on FLSD Docket 11/14/2023 Page 1 of 5




                           IN THE UNITED STATES DISTRICT COURT
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                                     Case N o:9:21-CV -81119-DM M



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     United StatesofAmerica,                                          FILED BY                   D
                                                                                                 .   C.
             Plaintiff,
                                                                            I'k
                                                                              lgk 1i 2028
     VS.                                                                   ANGELA
                                                                          CL ER    E. NOBLE
                                                                          S    K U.
                                                                                  S.DiS'  ECI
                                                                           .D.OF FEA. -
                                                                                        kVtRB.
     Fane Lozm an,

             Defendant.




       DEFENDANT'S M OTION FOR A PRELIM INARY INJUNCTION TBA SED ON
         NEW AUTH ORITY ,TO ISSUE AN ORDER DIRECTING THE CO URT
         ADM INISTM TOW CLERK OF COURT TO ALLOW FOR ELECTRONIC
                              FILING FO R ALL PRO SE LITIG ANTS


             Two yearsago,theCourtdenied DefendantFaneLozm an'smotion to file

     electronically. Dkt.13.Sincethen, the United StatesCourtofAppealsfortheEleventh

     Circuithaschanged itsECF rulesand now allowsfoçprose electronicsling. Exhibit1.

     YettheSouthernDistrictofFloridaisalonein thetwilightzoneofjudicialinefficiency
     by refusingto allow electronicprgsefiling.

             ThisSouthernDistrictlocalnzleiscontrarytotheStrategicPlanfortheFederal
     Judiciary,Septem ber2020JudicialConferenceoftheUnited Statesl, which holdsasa

     corevalue,EqualJustice,theGûfairnessandimpartialityintheadministrationofjustice'
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Case 9:21-cv-81119-DMM Document 83 Entered on FLSD Docket 11/14/2023 Page 2 of 5



     accessibility ofcourtprocesses;and treatmentofa11with dignity and respect.''Another

     corevalueAccountability (ttefficientuseofresotlrces'')isignoredbecausethelocalnlle
     thatdeniesprg seelectronicfiling resultsin the wasteofclerk'sstafftim eto scan each

     prosefiling. Pro selitigantsdueprocessiscontinuing to beviolatedby alocalrulethat

     no longerhas any legalfooting to stand on.

               Thereisno denying thatsociety hasm oved from paperto electronic

     commtmications.Andsohavethevastmajorityoffederalandstatecourtsfoïprose
     filings. Butputting everything elseaside, the Eleventh Circuithaschanged itspro se

     electronicfilingrule,which givesthisCourtthesufficientauthority itrequiresto enteran

     orderbringing the Southern Districtinto com pliance with theAppellate Courtandthe

     StrategicPlan fortheFederalJudiciary.

            TheUnited StatesofAm ericadoesnotopposethism otion.


     Dated:November7,2023


                        By
                                   Fane Lozman




     Fane Lozm an
     c/o TRG
     149 Fern Street
    Jupiter,FL 33458
    fane@fanelozman.com
    (786)251-5868
Case 9:21-cv-81119-DMM Document 83 Entered on FLSD Docket 11/14/2023 Page 3 of 5




                                     CERTIFICATE OF SERW CE

           1,Fane Lozman,certify thaton this7th day ofNovember2023,1served theforegoing via email

     to:

     Brandon A dkins
     United StatesDepartmentofJustice
     Brandon.Adkins@usdoj.gov
     DexterLee
     United StatesAttorney'sOffice
     Dexter.taee@ usdoj.gov
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